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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

 TAGNETICS, INC.,                                  )   CASE NO. 3:19-cv-363
                                                   )
                 Appellant,                        )   JUDGE THOMAS M. ROSE
                                                   )
         v.                                        )   APPELLANT’S MOTION TO EXTEND
                                                   )   BRIEFING SCHEDULE
 KENNETH KAYSER, et al.,                           )
                                                   )
                 Appellees.                        )

        Appellant Tagnetics, Inc. (“Tagnetics”), files this Motion to Extend Briefing Schedule and

asks that the Court grant a thirty (30) day extension of time to submit its brief in support of the

appeal noted in this matter.

        On October 30, 2019, Tagnetics noted an appeal to this Court, following the decision by

the United States Bankruptcy Court to enforce a settlement agreement between Tagnetics and three

(3) creditors (“Appellees”). On or about January 14, 2020, the Court set the briefing schedule in

this matter, requiring that Appellant’s brief be submitted by January 28, 2020 (only two weeks

after the briefing schedule came out), Appellees’ brief be submitted on February 11, 2020, and any

reply brief be due by February 25, 2020. It does not appear that an oral argument hearing date has

been set by the Court.

        Following receipt of the Court’s briefing schedule, it was discovered that the transcript of

the October 18, 2019 hearing (which gives rise to the instant appeal) was not obtained, and it was

determined that the transcript could not be acquired in sufficient time to fully brief this matter.

Contemporaneous with the granting of this Motion, Appellants intend to expedite production of

the transcript, at significant cost, to ensure delivery in sufficient time to properly prepare the brief




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in support of this appeal. Upon information and belief, the transcript can be acquired as quickly

as seven (7) days following receipt of a special payment for such expedited delivery.

         Appellants respectfully request that the briefing schedule as delineated in the January 14,

2020 docket entries be modified and extended by thirty (30) days. No party will be prejudiced by

the granting of this Motion, as Appellants and Appellees will benefit from the additional briefing

schedule, and such extension will further the interest of justice in the captioned matter. See Ungar

v. Sarafite, 376 U.S. 575 (1964); Noble v. Black, 539 F.2d 586 (6th Cir. 1976). Further,

Appellant’s request does not seek this extension for tactical advantage. Rather, Appellants

respectfully suggest that Appellant will be prejudiced should it not be able to properly cite to the

operative hearing in this matter.

         WHEREFORE, Appellant Tagnetics, Inc., respectfully requests the Court issue an Order

granting a thirty (30) day extension to the current briefing schedule, such that Appellant’s brief

will be due on or before February 27, 2020, Appellee’s brief on or before March 12, 2020, and any

reply brief due on or before March 26, 2020.

Dated: January 23, 2020                               Respectfully submitted,

                                                      /s/ Nicholas R. Oleski
                                                      Robert R. Kracht (0025574)
                                                      Nicholas R. Oleski (0095808)
                                                      MCCARTHY, LEBIT, CRYSTAL
                                                        & LIFFMAN CO., LPA
                                                      101 West Prospect Avenue
                                                      1800 Midland Building
                                                      Cleveland, Ohio 44115
                                                      Telephone:      (216) 696-1422
                                                      Facsimile:      (216) 696-1210
                                                      Email: rrk@mccarthylebit.com
                                                                      nro@mccarthylebit.com




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                                                     Stephen B. Stern* (pro hac vice application
                                                     forthcoming)
                                                     KAGAN STERN MARINELLO & BEARD, LLC
                                                     238 West Street
                                                     Annapolis, Maryland 21401
                                                     Telephone:    (410) 216-7900
                                                     Facsimile:    (410) 705-0836
                                                     Email: stern@kaganstern.com

                                                     Attorneys for Appellant Tagentics, Inc.


                                CERTIFICATE OF SERVICE

        I hereby certify that on January 23, 2020, a copy of the foregoing Motion to Extend Briefing
Schedule was served (i) electronically on the date of filing through the Court’ s ECF System on
all ECF participants registered in this case at the email address registered with the court and (ii)
electronically by email on counsel for Tagnetics, Inc., Stephen Stern, Esq.
(Stern@kaganstern.com), Douglas Draper, Esq. (ddraper@hellerdraper.com) and Leslie Collins,
Esq. (lcollins@hellerdraper.com), and (iii) by ordinary U.S. Mail on January 23, 2020 addressed
to:

Kenneth W Kayser
PO Box 115
Catawba, VA 24070

Ronald E. Earley
6429 Winding Tree Drive
New Carlisle, OH 45344

Jonathan Hager
842 Paint Bank Road
Salem, VA 24153

Jeremy Shane Flannery
Office of the United States Trustee
170 North High Street
Suite 200
Columbus, Ohio 43215


                                                               /s/ Nicholas R. Oleski
                                                               Nicholas R. Oleski (0095808)




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